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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 VIXICOM, LLC,


        Movant,

 vs.                                                   CASE NO.: 16-CV-00703-MSS/JSS

 FOUR CORNERS DIRECT, INC.,

       Respondent.
 _____________________________________/

          MOVANT VIXICOM, LLC’S MOTION FOR A CLERK’S DEFAULT

        Movant, Vixicom, LLC (“Vixicom”), moves pursuant to Federal Rule of Civil

 Procedure 55 and Local Rule 1.07(b) for entry of a Clerk’s Default against Respondent, Four

 Corners Direct, Inc., and in support states as follows:

        Vixicom filed this action, which centers on a Motion to Confirm an Arbitration

 Award [ECF No. 1], on March 21, 2016. On March 31, 2016, a summons and the Motion

 were served on Respondent Four Corners Direct. [ECF No. 6]. Pursuant to Federal Rule of

 Civil Procedure 12(a)(1)(A)(i), Four Corners had 21 days, until March 21, 2016, to respond

 to same but, to date, has failed to plead or otherwise defend. Four Corners has also not

 contacted the undersigned seeking an extension of time. According, Vixicom respectfully

 requests entry of a Clerk’s Default against Four Corners. See Ameriprise Fin. Servs., Inc. v.

 Fischetti, No. 6:11-cv1933-Orl-31DAB, 2012 Wl 1854260 (M.D. Fla. Apr. 30, 2012)

 (granting a default final judgment in a motion to enforce an arbitration award after entry of a

 clerk’s default judgment).



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                              CERTIFICATE OF SERVICE

        I hereby certify that on April 22, 2016, a copy of this motion was served on

 Respondent through its registered agent of record, Martin A. Lothman, 7417 Sanderling

 Road, Sarasota, FL 34242, via certified US Mail.

        Respectfully submitted on April 22, 2016,
                                                    By: s/Daniel A. Krawiec
                                                    Daniel A. Krawiec
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